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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
P.F. ,                                                               24-CV-02333 (PMH)

                          Petitioner,                                AFFIRMATION IN SUPPORT

                          – against –

Y.F.,
                                    Respondent,
-----------------------------------------------------------x


         Menachem White, an attorney duly licensed to practice law in the State of New York, makes this affirmation under the

penalties of perjury:

         1.       I am the attorney retained by the Petitioner, herein, and as such, I am fully familiar with the

facts and circumstances of this case.

         2.       I submit this affirmation in support of the within application for an alternate manner of service

of the Summons with Notice on the Respondent, pursuant to Federal Rules of Civil Procedure 4 (e) and

CPLR § 308 (4) or CPLR § 308 (5).

         3.       In this action, the Petitioner seeks a default judgment against the Respondent.

         4.       The Respondent was served properly previously in this action.

         5.       However, since the date of commencement, upon information and belief, the Respondent has

relocated without providing a forwarding address.

         6.       Your affirmant attempted to serve the Respondent personally. However, your affirmant was

unsuccessful. Annexed hereto as Exhibit A is the affidavit of attempted service.

         7.       As the annexed Affidavit of Attempted Service attest, my client engaged a licensed process

server, Tyler Hammer, to serve the Respondent. The process server attempted to serve the Respondent.

However, the process server was informed that the Respondent has moved.

         8.       Accordingly, I respectfully request, pursuant to pursuant to the Federal Rules of Civil

Procedure and pursuant to CPLR § 308 (4), or any other method of service that this court will require,
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pursuant to CPLR § 308 (5), that this Honorable Court grant the Petitioner’s application for an alternative

method of service by email or publication or on ECF.

         9.    It should be noted that the Respondent has appeared in this matter by filing a letter with this

court.

         10.   Your affirmant has done an online search for the Respondent’s location but has been unable

to find him on Facebook, Instagram, LinkedIn or any other social media website.

         11.   The Respondent has shown his ability to hide as in this case, the Respondent kidnapped the

children to the United States and is hiding his whereabouts and that of the children at this time.

         12.   Alternative service is acceptable if it (i) is not prohibited by international agreement, and (ii)

if it comports with constitutional notions of due process. People’s Republic of China. SEC v. China

Intelligent Lighting & Electronics, Inc., No. 13 CIV. 5079, 2014 WL 338817 (S.D.N.Y. Jan. 30, 2014).

         13.   Furthermore, your affirmant does not have a number to reach the Respondent or text the

Respondent and request their address.

         14.   Additionally, it is requested, that based upon the inability to find the Respondent, time for

service be extended to 60 days.

         15.   There is no child support order to look up Respondent’s address either, to the knowledge of

your affirmant.

         16.   If the Court does not wish to grant alternative service, it is requested that service by the United

States Marshalls be granted by the Honorable Court.

         17.   No previous application has been made for the relief requested herein.
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        WHEREFORE, it is respectfully requested that this application be granted in its entirety and for any further relief that

this Court may deem just and proper.


Dated: Woodmere, NY
       December 20, 2024
                                                                      _____________________________
                                                                      MENACHEM WHITE, ESQ.
                                                                      Attorney for the Petitioner
                                                                      4 Brower Avenue, Suite 3
                                                                      Woodmere, New York 11598
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UNITED STATES DISTRICT COURT                                24-CV-02333 (PMH)
SOUTHERN DISTRICT OF NEW YORK
______________________________________________________________________________
P.F. ,

                       Petitioner,

                       – against –

Y.F.,
                       Respondent,

______________________________________________________________________________

                                AFFIRMATION IN SUPPORT
    ______________________________________________________________________________
                           Law Office of Menachem White, PLLC
                                By Menachem White, Esq.
                                Attorney(s) for Petitioners
                                 4 Brower Avenue, Suite 3
                               Woodmere, New York 11598
                                      (516) 504-4101
    ______________________________________________________________________________
To:                                  Signature (Rule 130-1.1-a)

                                              ____________________________________
                                              MENACHEM WHITE, ESQ.

Attorney(s) For Plaintiff           Service of a copy of the within is hereby admitted.
                                    Dated:
______________________________________________________________________________
PLEASE TAKE NOTICE:

[]      NOTICE OF ENTRY

That the within is a (certified) true copy of a duly entered in the office of the clerk of the within named
court on

[] NOTICE OF SETTLEMENT


Dated:
                                                              Yours, etc.
